         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 1 of 33 Page ID #:498


        1        DEBORAH L. STEIN (SBN 224570)
                  DStein@gibsondunn.com
        2        MICHAEL H. DORE (SBN 227442)
                  MDore@gibsondunn.com
        3        GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
        4        Los Angeles, CA 90071
                 Telephone: (213) 229-7164
        5        Facsimile: (213) 229-6164
        6        ORIN SNYDER (pro hac vice application forthcoming)
                  OSnyder@gibsondunn.com
        7        GIBSON, DUNN & CRUTCHER LLP
                 200 Park Avenue
        8        New York, NY 10166-0193
                 Telephone: (212) 351-2400
        9        Facsimile: (212) 351-6335
     10          GRETA B. WILLIAMS (SBN 267695)
                  GBWilliams@gibsondunn.com
     11          GIBSON, DUNN & CRUTCHER LLP
                 1050 Connecticut Avenue, N.W.
     12          Washington, D.C. 20036
                 Telephone: (202) 887-3745
     13          Facsimile: (202) 530-4230
     14          Attorneys for Defendants Rosette Pambakian
                 and Sean Rad
     15
                                    UNITED STATES DISTRICT COURT
     16
                                  CENTRAL DISTRICT OF CALIFORNIA
     17
     18          GREG BLATT,                            Case No. 2:19-CV-07046-MWF-FFM
     19
                                                        Hon. Michael W. Fitzgerald
     20                             Plaintiff,
                       v.                               MEMORANDUM OF POINTS AND
     21                                                 AUTHORITIES IN SUPPORT OF
                 ROSETTE PAMBAKIAN and SEAN             DEFENDANTS’ SPECIAL
     22                                                 MOTION TO STRIKE
                 RAD; and DOES 1-10, inclusive,         PLAINTIFF’S FIRST AMENDED
     23
                                    Defendants.         COMPLAINT (PURSUANT TO
     24                                                 CAL. CODE CIV. PROC. § 425.16)
     25                                                 Hearing Date: November 4, 2019
     26                                                 Hearing Time: 10:00 a.m.
                                                        Courtroom:    5A
     27
     28

Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 2 of 33 Page ID #:499


        1
                                                             TABLE OF CONTENTS
        2
                                                                                                                                        Page
        3
                 I.            INTRODUCTION ........................................................................................1
        4
                 II.           RELEVANT FACTUAL BACKGROUND ................................................4
        5
                        A. The Harassment Allegations Against Blatt In Other Litigation ....................4
        6
                            1. The New York Litigation..........................................................................4
        7                   2. Pambakian’s August 2019 Lawsuit Against Blatt ....................................5
        8               B. Blatt Sues Pambakian and Rad Based on Allegedly Defamatory
        9                  Statements Tied to Allegations in Publicly Filed Litigation .........................6

     10                     1. The CNN Interview “which aired on August 14, 2018” ..........................7
                                 a. What Blatt Alleges ...............................................................................7
     11
                                 b. What the Broadcast Shows ..................................................................8
     12
                            2. The “article published by CNN on August 16, 2018” ............................10
     13
                                 a. What Blatt Alleges .............................................................................10
     14
                                 b. What the Article Says ........................................................................10
     15                     3. Articles Published by the Verge and CNN on Dec. 18, 2018 ................12
     16                          a. What Blatt Alleges .............................................................................12
     17                          b. What the Articles Say ........................................................................13
     18          III.          LEGAL STANDARD ................................................................................14
     19          IV.           ARGUMENT .............................................................................................15
     20                 A. Step One: The claims at issue in this lawsuit arise from Defendants’
                           exercise of their constitutional rights of petition and free speech. ..............16
     21
                            1. The Allegedly Defamatory Statements Were Made in Connection
     22                        with Issues Under Consideration or Review By A Judicial
     23                        Body—Cal. Code Civ. Proc. § 425.16(e)(2) ..........................................17

     24                     2. The Allegedly Defamatory Statements Were Made In A Public
                               Forum In Connection With An Issue Of Public Interest—
     25                        Cal. Code of Civ. Proc. § 425.16(e)(3) ...................................................19
     26                 B. Step Two: Blatt cannot show a probability of prevailing on the
                           merits. ...........................................................................................................20
     27
                            1. The fair and true reporting privilege bars Blatt’s claims. .......................21
     28
                                                               i
                                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                        DEFENDANTS’ SPECIAL MOTION TO STRIKE
Gibson, Dunn &
                                            CASE NO. 2:19-CV-07046-MWF-FFM
Crutcher LLP
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 3 of 33 Page ID #:500


        1                2. Blatt cannot establish a reasonable probability of prevailing on his
        2                   claim for so-called “civil conspiracy.” ...................................................25

        3             C. Blatt’s Complaint Should Be Dismissed Without Leave To Amend ..........25
                 V.        CONCLUSION ..........................................................................................25
        4
        5
        6
        7
        8
        9
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28
                                                                       ii
Gibson, Dunn &               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                   DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                       CASE NO. 2:19-CV-07046-MWF-FFM
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 4 of 33 Page ID #:501


        1
                                                     TABLE OF AUTHORITIES
        2
                                                                                                                           Page(s)
        3
                 Cases
        4
                 Annett F. v. Sharon S.,
        5          119 Cal. App. 4th 1146 (2004) .....................................................................17, 19
        6
                 Argentieri v. Zuckerberg,
        7           8 Cal. App. 5th 768 (2017) .................................................................3, 21, 23, 24
        8        Barrett v. Rosenthal,
        9          40 Cal. 4th 33 (2006) ..........................................................................................19

     10          Braun v. Chronicle Publ’g Co.,
                    52 Cal. App 4th 1036 (1997) ........................................................3, 17, 18, 22, 23
     11
     12          Briggs v. Eden Council for Hope & Opportunity,
                    19 Cal. 4th 1106 (1999) ......................................................................................18
     13
                 Carver v. Bonds,
     14
                   135 Cal. App. 4th 328 (2005) .............................................................................24
     15
                 Dorsey v. Nat’l Enquirer, Inc.,
     16            973 F.2d 1431 (9th Cir. 1992) ..................................................................2, 22, 25
     17
                 Greenberg v. Western CPE,
     18            2013 WL 1628905 (C.D. Cal. Apr. 15, 2013) ....................................................22
     19          Hawran v. Hixson,
     20            209 Cal. App. 4th 256 (2012) .............................................................................21
     21          Hayward v. Watsonville Register-Pajaronian & Sun,
     22            265 Cal. App. 2d 255 (1968) ..............................................................................22

     23          Heller v. NBCUniversal, Inc.,
                   No. CV-15-09631-MWF-KS, 2016 WL 6573985 (C.D. Cal.
     24            Mar. 30, 2016)...............................................................................................14, 20
     25
                 Hilton v. Hallmark Cards,
     26             599 F.3d 894 (9th Cir. 2010) ..............................................................................14
     27
     28
                                                                          iii
                               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                     DEFENDANTS’ SPECIAL MOTION TO STRIKE
Gibson, Dunn &
                                         CASE NO. 2:19-CV-07046-MWF-FFM
Crutcher LLP
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 5 of 33 Page ID #:502


        1        Lafayette Morehouse, Inc. v. Chronicle Publ’g Co.,
        2           37 Cal. App. 4th 855 (1995) ...............................................................................18

        3        Magic Laundry Servs., Inc. v. Workers United Serv. Emps. Int’l
                   Union,
        4
                   No. CV-12-9654-MWF, 2013 WL 1409530 (C.D. Cal. Apr. 8,
        5          2013) ...................................................................................................................15
        6        Marantha Corrections, LLC v. Dep’t of Corr. & Rehab.,
        7          158 Cal. App. 4th 1075 (2008) ...........................................................................17

        8        Microsoft Corp. v. M Media,
                   No. CV-17-347-MWF, 2018 WL 5094969 (C.D. Cal. Mar. 13,
        9
                   2018) .......................................................................................................15, 17, 25
     10
                 Microsoft Corp. v. Yokohama Telecom Corp.,
     11             993 F. Supp. 782 (C.D. Cal. 1998) ....................................................................24
     12
                 United States ex rel. Newsham v. Lockheed Missiles & Space Co.,
     13            190 F.3d 963 (9th Cir. 1999) ..............................................................................15
     14          Pambakian v. Blatt, IAC/Interactive Corp. and Match Group, Inc.,
     15            Case No. 19-STCV-27416 (Cal. Sup. Ct.) ........................................................... 5
     16          Planned Parenthood Fed’n of Am. v. Ctr. for Med. Progress,
     17             890 F.3d 828 (9th Cir. 2018) ........................................................................15, 20

     18          Rad, et al. v. IAC, et al.,
                   No. 654038/2013 (N.Y. Sup. Ct.) ...................................... 4, 9, 10, 11, 12, 13, 14
     19
     20          Rohde v. Wolf,
                   154 Cal. App. 4th 28 (2007) ...............................................................................17
     21
                 Sipple v. Found. for Nat’l Progress,
     22             71 Cal. App 4th 226 (1999) ................................................................................17
     23
                 Sparrow LLC v. Lora,
     24             No. CV-14-1188-MWF, 2014 WL 12573525 (C.D. Cal. Dec. 4,
     25             2014) ...................................................................................................................25

     26          Widdows v. Koch,
                   263 Cal. App. 2d 228 (1968) ..............................................................................25
     27
     28
                                                                              iv
Gibson, Dunn &                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                      DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                          CASE NO. 2:19-CV-07046-MWF-FFM
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 6 of 33 Page ID #:503


        1        Statutes
        2
                 Cal. Civ. Code § 47(b) .............................................................................................25
        3
                 Cal. Civ. Code § 47(d) .........................................................................................3, 21
        4
                 Cal. Code Civ. Proc. § 340(c) ....................................................................................6
        5
        6        Cal. Code Civ. Proc. § 425.16 .................................................................................14

        7        Cal. Code Civ. Proc. § 425.16(a) .............................................................................15
        8        Cal. Code Civ. Proc. § 425.16(b)(1) ........................................................................16
        9
                 Cal. Code Civ. Proc. § 425.16(c) .............................................................................15
     10
                 Cal. Code Civ. Proc. § 425.16(e)(1) ........................................................................18
     11
                 Cal. Code Civ. Proc. § 425.16(e)(1)-(4) ..................................................................16
     12
     13          Cal. Code Civ. Proc. § 425.16(e)(2) ..............................................................3, 16, 19
     14          Cal. Code Civ. Proc. § 425.16(e)(3) ....................................................................3, 16
     15          Other Authorities
     16
                 CNN.com, “How 2018 became the year of #MeToo,” available at
     17            https://www.cnn.com/videos/us/2018/12/23/me-too-2018-wrap-lc-
                   me-cs-orig.cnn ....................................................................................................20
     18
     19          N. Michelle AuBuchon, “A Few Med Who Begged Me Not to Write
                    About Them,” available at https://gawker.com/5987959/a-few-
     20             men-who-begged-me-not-to-write-about-them .................................................... 2
     21
                 CNN Money, “Tinder co-founders and 8 others sue dating app’s
     22            owners, claiming they’re owed $2 billion,”
     23            https://money.cnn.com/2018/08/14/technology/tinder-
                   lawsuit/index.html.................................................................................................8
     24
                 Scott Harvey, “2013 Gawker Article Resurfaces Amid Tinder
     25             Harassment Case,” available at
     26             https://www.globaldatinginsights.com/news/2013-gawker-article-
                    resurfaces-amid-tinder-harassment-case/ ............................................................. 2
     27
     28
                                                                           v
Gibson, Dunn &                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                     DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                         CASE NO. 2:19-CV-07046-MWF-FFM
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 7 of 33 Page ID #:504


        1        Jeff Daniels, “New state laws: From workplace harassment
        2           protections to mandating women on boards,” CNBC (Dec. 28,
                    2018), available at https://www.cnbc.com/2018/12/28/new-state-
        3           laws-in-california-elsewhere-inspired-by-metoo-movement.html .....................20
        4
        5
        6
        7
        8
        9
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28
                                                           vi
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 8 of 33 Page ID #:505


        1                                       I.    INTRODUCTION
        2                This defamation action is a textbook example of a lawsuit that impermissibly
        3        seeks to chill protected speech through costly litigation—a strategic lawsuit against
        4        public participation (“SLAPP”) that California law prohibits. The protected speech
        5        finds its roots in an August 2018 publicly-filed New York court complaint by the
        6        founders and early employees of Tinder, who sued media giants IAC and Match
        7        Group for cheating them out of billions of dollars in stock options they earned by
        8        building Tinder into a phenomenal success. In that complaint, Rosette Pambakian,
        9        Sean Rad, and others alleged that Greg Blatt, the former Tinder CEO and
     10          Chairman and CEO of Match Group, sexually assaulted Pambakian at a company
     11          party. The ensuing crescendo of retaliation—reminiscent of many Hollywood
     12          #MeToo cases—included Match circling the wagons around Blatt, publicly
     13          belittling Pambakian by chalking up the assault to “consensual cuddling,” and
     14          firing her months later after she refused to sign an NDA. Then, when Pambakian
     15          filed an assault claim against Blatt this summer, Blatt filed this retaliatory
     16          defamation lawsuit targeting privileged statements about the allegations in the
     17          New York lawsuit and seeking $50,000,000 in damages.
     18                  What makes this lawsuit even more abusive is that Blatt filed it solely to
     19          launch a public smear campaign against Pambakian and the person who reported
     20          the assault to Match, Sean Rad. At the same time, and now that Blatt’s public
     21          court filings have served his media objective, Blatt says that the complaint that
     22          he himself chose to file in court should actually be sent to private arbitration.
     23          Blatt’s lawsuit is a shameful effort to stage a public smear campaign against a
     24          sexual assault accuser under cover of a court proceeding. 1
     25
                  1
                      While the Court need not delve into the facts for purposes of this motion,
     26               Blatt’s false narrative—that this was consensual, and that Pambakian and Rad
                      concocted the assault allegations to aid their valuation lawsuit—is patently false
     27               and offensive. The evidence shows that Blatt admitted being drunk at the
                      holiday party, making inappropriate comments to Pambakian, and “snuggling
     28               and nuzzling” her in a hotel bed. It further shows that Blatt apologized to
                                                             1
Gibson, Dunn &               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                   DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                       CASE NO. 2:19-CV-07046-MWF-FFM
         Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 9 of 33 Page ID #:506


        1              At its core, Blatt’s complaint is predicated on the claim that any statement
        2        that he is a sexual harasser is defamatory. But every alleged statement he cites is a
        3        privileged communication about the New York lawsuit filed against Tinder’s
        4        corporate parents, IAC and Match. That New York complaint includes a section
        5        entitled “Defendants Cover Up Workplace Misconduct.” It alleges that Blatt
        6        “groped and sexually harassed Rosette Pambakian, Tinder’s Vice President of
        7        Marketing and Communications”; that IAC and Match “covered up Blatt’s
        8        misconduct”; and that they did so because Blatt “was essential to the execution of
        9        Defendants’ scheme to deprive the Tinder Plaintiffs of their rights as
     10          optionholders—and to save Defendants billions of dollars in the process.” RJN,
     11          Ex. A ¶¶ 127–33. The New York lawsuit further alleges that “Blatt was irate that
     12          Rad had reported the allegations of Blatt’s sexual misconduct.” Id. ¶ 146. Blatt,
     13          according to the New York complaint, “threatened Rad, angrily saying, in sum and
     14          substance, that if Rad or anyone else made public the misconduct allegations
     15          against him, Blatt would ‘take [Rad] down’ with him.” Id. (brackets in complaint).
     16                Blatt has now acted on his threat, but his defamation lawsuit targets
     17          statements that either match up exactly with the complaint’s allegations in the
     18          New York case or explain details about and the basis for those allegations and
     19          convey the same “gist.” See Dorsey v. Nat’l Enquirer, Inc., 973 F.2d 1431, 1437
     20          (9th Cir. 1992) (applying fair reporting privilege to out-of-court statements that
     21          provided additional detail and context to in-court statements). On its face, Blatt’s
     22          belated defamation suit easily satisfies the anti-SLAPP statute’s two-step inquiry
     23          and warrants dismissal.
     24
     25             Pambakian the following week, and later offered to resign over his misconduct.
                    These are not the actions of an innocent man, nor is it the first time Blatt has
     26             been accused of mistreating women in the workplace. See https://gawker.com/
                    5987959/a-few-men-who-begged-me-not-to-write-about-them (describing
     27             misconduct by CEO of a major dating site while drunk at a company party);
                    https://www.globaldatinginsights.com/news/2013-gawker-article-resurfaces-
     28             amid-tinder-harassment-case/ (suggesting Gawker article was describing Blatt).
                                                           2
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 10 of 33 Page ID
                                                 #:507

        1              First, Pambakian’s and Rad’s reported statements to journalists last year
        2        were in furtherance of the right of petition and free speech, and in connection with
        3        a public issue. Blatt cites an interview with CNN that aired the same day that
        4        Pambakian, Rad, and others filed the New York lawsuit; a CNN article published
        5        two days later; an article published by the Verge on December 18, 2018; and a
        6        similar CNN article published that same day. FAC ¶ 95. One need only watch the
        7        cited August 2018 CNN video, and read the CNN and Verge articles attached to
        8        the FAC, to see very clearly that all of Defendants’ statements were “made in
        9        connection with an issue under consideration or review by a . . . judicial body,”
     10          Cal. Code Civ. Proc. § 425.16(e)(2), and/or “made in a place open to the public or
     11          a public forum in connection with an issue of public interest,” id. § 425.16(e)(3).
     12          Each statement describes the New York lawsuit, the events giving rise to the
     13          publicly filed allegations, and harassment issues that are particularly salient in
     14          what Blatt clumsily describes as “an era where most companies would be afraid to
     15          challenge assertions of sexual misconduct.” FAC ¶ 67. Indeed, the title of the
     16          Verge article is “Tinder fires its head of comms, following her participation in a $2
     17          billion lawsuit against Match.” FAC App’x. A at 27.
     18                Second, Blatt cannot show a probability of prevailing on his claims because
     19          they attack protected speech under California’s fair and true reporting privilege.
     20          Cal. Civ. Code § 47(d). That privilege “pertains specifically to communications to
     21          the press,” Argentieri v. Zuckerberg, 8 Cal. App. 5th 768, 787 (2017), and it
     22          protects speech about the “basis and background of a judicial proceeding,” Braun
     23          v. Chronicle Publ’g Co., 52 Cal. App 4th 1036, 1050 (1997). Every statement in
     24          the CNN broadcast and news articles that Blatt cites is absolutely protected.
     25                Blatt’s transparent use of litigation to cover up his misconduct and to
     26          suppress protected speech by both his accuser and the person who reported him is a
     27          cynical and retrograde ploy that is prohibited by law. His claims should be
     28
                                                            3
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 11 of 33 Page ID
                                                 #:508

        1        dismissed without leave to amend. Moreover, attorneys’ fees and costs should be
        2        awarded to Defendants for having to file this motion to resist Blatt’s improper
        3        attempt to chill the valid exercise of Defendants’ constitutional rights.
        4                            II. RELEVANT FACTUAL BACKGROUND
        5           A.      The Harassment Allegations Against Blatt In Other Litigation
        6                   1.    The New York Litigation
        7                On August 14, 2018, a group of former and then-current executives and
        8        employees of the online dating startup Tinder (the “Tinder Plaintiffs”)—including
        9        Defendants Pambakian and Rad—brought an action against Tinder’s parent
     10          companies, IAC and Match, in New York Supreme Court for, among other things,
     11          breach of contract and interference with contractual relations. See FAC ¶ 2; RJN,
     12          Ex. A. In that complaint, Rad, et al. v. IAC, et al., No. 654038/2013 (N.Y. Sup.
     13          Ct.), Docket No. 2, (the “New York Complaint”), the Tinder Plaintiffs allege that
     14          IAC and Match schemed to undervalue and eliminate the Tinder Plaintiffs’ stock
     15          options in Tinder for the parent companies’ own benefit. RJN Ex. A ¶¶ 7–9.
     16          The lawsuit drew extensive media coverage.
     17                  The New York Complaint alleges that IAC and Match, in furtherance of
     18          their scheme, removed Tinder’s executive leadership and installed their own at the
     19          highest levels of Tinder management—including by removing Rad, a Tinder co-
     20          founder and its CEO between 2012 and December 2016, and replacing him with
     21          Plaintiff Greg Blatt, who at the time was Match’s Chairman and CEO. RJN, Ex.
     22          A ¶ 12. Once installed, Blatt worked with IAC and Match to devalue Tinder on
     23          paper and flood the market with disinformation about its financial performance.
     24          Id. ¶¶ 8, 13. The New York Complaint alleges that IAC/Match then merged Tinder
     25          out of corporate existence, cancelling the options in the process. Id. ¶ 8.
     26                  The New York Complaint alleges that IAC/Match’s scheme was threatened
     27          in December 2016—shortly after Blatt had been named CEO of Tinder—when
     28
                                                           4
Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 12 of 33 Page ID
                                                 #:509

        1        Blatt “groped and sexually harassed [Defendant] Rosette Pambakian, Tinder’s
        2        Vice President of Marketing and Communications” at Tinder’s holiday party. Id.
        3        ¶¶ 14, 127–33. It further alleges that Rad “learned about these events” in mid-
        4        2017 and asked Pambakian about them, who “confirmed that Blatt had groped and
        5        sexually harassed her with colleagues present.” Id. ¶ 129. Rad “reported Blatt’s
        6        conduct to Match’s General Counsel . . . and demanded that Tinder commission an
        7        independent investigation.” Id. ¶ 130.
        8                According to the New York Complaint, Rad “[b]eliev[ed] that credible
        9        allegations of workplace misconduct against its CEO threatened Tinder and should
     10          be independently investigated,” but that IAC and Match “refused [to investigate]
     11          and covered up Blatt’s conduct instead.” Id. ¶ 132. In fact, Match/IAC “kept Blatt
     12          in place as Tinder’s ‘interim’ CEO long enough to complete the private valuation
     13          and secret merger of Tinder,” only to announce Blatt’s “retirement” two weeks
     14          after their scheme was concluded. Id. ¶ 14. The New York Complaint alleges that
     15          shortly thereafter, Blatt asked Rad to meet in person. Id. ¶ 146. It states that
     16          “Blatt was irate that Rad had reported the allegations of Blatt’s sexual
     17          misconduct.” Id. The New York Complaint further alleges that “Blatt threatened
     18          Rad, angrily saying, in sum and substance, that if Rad or anyone else made public
     19          the misconduct allegations against him, Blatt would ‘take [Rad] down’ with him.”
     20          Id. (brackets in N.Y. Compl.).2
     21                     2.    Pambakian’s August 2019 Lawsuit Against Blatt
     22                  On August 5, 2019, almost one year after the Tinder Plaintiffs filed the New
     23          York Complaint, Pambakian brought a separate action—Pambakian v. Blatt,
     24          IAC/Interactive Corp. and Match Group, Inc., Case No. 19-STCV-27416 (Cal.
     25          Sup. Ct.)—against Blatt, IAC, and Match, alleging, among other things, sexual
     26
                  2
                      On August 31, 2018, Pambakian and three other Tinder Plaintiffs voluntarily
     27               dismissed themselves from Rad v. IAC. The allegations about Blatt’s
     28               misconduct remain a part of that ongoing case.
                                                           5
Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 13 of 33 Page ID
                                                 #:510

        1        battery, retaliation, and wrongful termination of her employment (the “Pambakian
        2        Complaint”). In the Pambakian Complaint, Pambakian alleges in greater detail
        3        Blatt’s sexual misconduct at the Tinder holiday party in 2016; the ensuing cover-
        4        up in furtherance of IAC/Match’s valuation scheme; and, finally, her retaliatory
        5        termination from Tinder on December 18, 2018. RJN Ex. B ¶¶ 15-19, 37-64.
        6             B.      Blatt Sues Pambakian and Rad Based on Allegedly Defamatory
                              Statements Tied to Allegations in Publicly Filed Litigation
        7
        8                  On August 13, 2019—one week after Pambakian brought her sexual
        9        harassment lawsuit and almost one year after the August 14, 2018 filing of the
     10          New York Complaint—Blatt brought this case against Defendants Pambakian and
     11          Rad.3 He alleges causes of action against Pambakian and Rad for (1) defamation,
     12          (2) defamation per se, and (3) “civil conspiracy.” On October 3, 2019, Blatt filed a
     13          first amended complaint, but his claims remained the same. Blatt only added false
     14          and misleading allegations and exhibits about Pambakian’s and Rad’s purported
     15          motivations in alleging that Blatt sexually harassed Pambakian. The thrust of these
     16          allegations is that Pambakian and Rad made “allegations of sexual harassment
     17          against Blatt … even though those allegations had nothing to do with the central
     18          legal issues relating to the Valuation Claims.” FAC ¶ 14.
     19                    The “Valuation Claims”—which Blatt invokes more than thirty times in his
     20          First Amended Complaint—are part of a New York lawsuit that is deeply
     21          intertwined with Blatt’s suit here. In describing the “Nature of the Action,” Blatt’s
     22          First Amended Complaint alleges that “Pambakian and Rad (along with several
     23          other current and former Tinder executives) filed a lawsuit in New York (the
     24          “Valuation Lawsuit”) claiming that IAC and Match, in large part through the
     25          actions of Blatt, failed to properly value their Tinder stock options.” FAC ¶ 2;
     26          compare with RJN Ex. A. Blatt’s amended complaint continues, “Blatt is expected
     27           3
                      The statute of limitations for a defamation claim under California law is one
     28               year. Cal. Code Civ. Proc. § 340(c).
                                                             6
Gibson, Dunn &                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                    DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                        CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 14 of 33 Page ID
                                                 #:511

        1        to be a key witness for IAC and Match in the Valuation Lawsuit.” Id.
        2              Blatt alleges that “in the Valuation Lawsuit, Pambakian alleged that Blatt
        3        ‘sexually harassed and groped’ her.” FAC ¶ 16. He further alleges that “[i]n that
        4        lawsuit,” Rad “leveled the same allegations of sexual harassment against Blatt that
        5        he had made a year before.” FAC ¶ 14. Blatt’s amended complaint later again
        6        explicitly states that the New York Lawsuit “contained allegations of ‘sexual
        7        harassment and groping’ against Blatt.” Id. ¶ 67 (emphasis added). He claims
        8        these allegations in the New York Complaint are an attempt to “gain publicity” for
        9        the New York lawsuit, to “apply pressure to settle the lawsuit in an era where most
     10          companies would be afraid to challenge assertions of sexual misconduct,” and to
     11          “tar the character of” Blatt. Id.
     12                Further tying his allegations here directly to the New York lawsuit, Blatt
     13          alleges that “over a span of two days Rad, Pambakian and [their] lawyer conducted
     14          a series of coordinated interviews on CNN to promote the lawsuit, in which Blatt
     15          was defamed in multiple ways.” FAC ¶ 68 (emphasis added). He claims that the
     16          alleged defamatory statements were part of a “coordinated media campaign to
     17          ensure that their false charges” in the August 14, 2018 New York Lawsuit “were
     18          widely-disseminated to the public.” Id. ¶ 14. These admissions confirm the
     19          inextricable link between Blatt’s defamation allegations and the New York
     20          lawsuit—and mandate dismissal.
     21                As to what the purportedly defamatory statements are, Blatt identifies “a
     22          CNN interview” that “aired on August 14, 2018”; “an article published by CNN on
     23          August 16, 2018”; and December 18, 2018 articles published by CNN and the
     24          Verge. FAC ¶ 95.
     25                    1.     The CNN Interview “which aired on August 14, 2018”
     26                           a.    What Blatt Alleges
     27                Blatt alleges that Rad defamed him in a CNN video interview that aired on
     28
                                                          7
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 15 of 33 Page ID
                                                 #:512

        1        August 14, 2018, the same day the New York Complaint was filed. FAC ¶ 95.
        2        According to Blatt, in that interview Rad falsely stated “that Blatt had committed
        3        sexual harassment” and that “Rad had ‘reported that misconduct’ to the Match
        4        Board.” Id. ¶ 96. Blatt further alleges that Rad “accused Blatt of corruption,
        5        claiming that Blatt was kept on at Match so ‘he can finish the job of corrupting the
        6        valuation’” and that Rad “falsely stated that Blatt ‘threatened’ Rad in connection
        7        with the false harassment claim and warned Rad that ‘[i]f you take me down, I’m
        8        going to take you down with me.’” Id. (brackets in original).
        9                         b.     What the Broadcast Shows
     10                  Money.cnn.com presented a five minute, four second video news piece that
     11          includes an interview with Rad.4 As the URL web address indicates, the broadcast
     12          is about the New York lawsuit. Indeed, in the first ten seconds of the piece, the
     13          CNN journalist states that “it’s an explosive lawsuit; at the center of it, major
     14          media giant IAC, which owns Match Group, the parent company of Tinder.” FAC
     15          App’x. A at 11. Approximately 33 seconds into the piece, the CNN journalist
     16          states that Rad and current and former Tinder employees “are suing IAC, alleging
     17          [IAC] purposely lowered the value of Tinder.” Id. One minute into the video, the
     18          journalist states that “the suit says IAC installed Greg Blatt as Tinder CEO ahead
     19          of the valuation process; his role, according to Rad and the lawsuit: to purposely
     20          paint a pessimistic view of Tinder to the banks valuing the company.” Id.
     21                  In the video, clips of Rad’s interview describing the allegations of the
     22          lawsuit are interspersed with the journalist’s summary of the case and graphics
     23          showing excerpts of the New York Complaint. In fact, at 3:08 of the video, the
     24          CNN journalist states in a voiceover that, “The suit [referring to the New York
     25          Complaint] also alleges that soon after Blatt was named Tinder CEO in late 2016,
     26
                  4
                       See Laurie Segall and Chris Isodore, “Tinder co-founders and 8 others sue
     27               dating app’s owners, claiming they’re owed $2 billion, CNN Money (Aug. 16,
                      2018), available at https://money.cnn.com/2018/08/14/technology/tinder-
     28               lawsuit/index.html.
                                                            8
Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 16 of 33 Page ID
                                                 #:513

        1        he groped and sexually harassed . . . Rosette Pambakian at a Company holiday
        2        party.” Id. While that voiceover plays, a text excerpt pulled directly from
        3        paragraph 14 of the New York Complaint is displayed on the screen, reading:
        4              Blatt was compromised: during and after Tinder’s 2016 holiday party
        5              in Los Angeles, Blatt had groped and sexually harassed Plaintiff
        6              Rosette Pambakian, Tinder’s Vice President of Marketing and
        7              Communications, with colleagues present.
        8        Rad then states at 3:18 of the video, “I actually reported that misconduct to the
        9        company and the Board.” FAC App’x. A at 13. Again, Rad’s words correspond to
     10          allegations in the New York Complaint. Compare with RJN Ex. A (N.Y. Compl.)
     11          ¶ 130 (“Rad immediately reported Blatt’s conduct to Match’s General Counsel,
     12          Jared Sine, and demanded that Tinder commission an independent investigation.”);
     13          Id. ¶ 132 (“Believing that credible allegations of workplace misconduct against its
     14          CEO threatened Tinder and should be independently investigated, Rad pressed for
     15          a meeting of Tinder’s Board of Directors.”). Neither in that sequence nor in any
     16          other portion of the broadcast interview does Rad utter the word “harassment.”
     17          See FAC App’x A at 10–14.
     18                Rad then says that after he reported the misconduct, “the board had a
     19          choice.” Id. at 13. “They could either do the right thing and properly investigate
     20          and take the right action, or they can keep that executive in a place where he can
     21          finish the job of corrupting the valuation.” Id.; compare with RJN Ex. A (N.Y.
     22          Compl.) ¶ 133 (“On information and belief, Defendants covered up Blatt’s
     23          misconduct in part because he was essential to the execution of Defendants’
     24          scheme to deprive the Tinder Plaintiffs of their rights as optionholders….”).
     25                At 3:35 of the CNN video, the journalist asks if Rad spoke to Blatt about the
     26          allegations and then, “What was that conversation like?” Rad responds, “I was
     27          threatened. I believe it was, ‘If you take me down, I’m going to take you down
     28
                                                           9
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 17 of 33 Page ID
                                                 #:514

        1        with me.’” FAC App’x A at 13. This statement, too, closely tracks an allegation
        2        in the New York Complaint. Compare with RJN Ex. A (N.Y. Compl.) ¶ 146
        3        (“Blatt threatened Rad, angrily saying, in sum and substance, that if Rad or anyone
        4        else made public the misconduct allegations against him, Blatt would ‘take [Rad]
        5        down’ with him.”).
        6                 2.     The “article published by CNN on August 16, 2018”
        7                        a.     What Blatt Alleges
        8              Blatt claims that in an article published by CNN on August 16, 2018,
        9        Pambakian falsely stated: (1) “that Blatt behaved inappropriately towards her at the
     10          2016 holiday party”; (2) “that Blatt caused Pambakian to flee to an upstairs room”;
     11          (3) “that Blatt entered the hotel room, and without her consent, ‘pushed
     12          [Pambakian] back onto the mattress, climbed on top of her, and began kissing and
     13          fondling her’”; (4) “that Blatt’s conduct ‘wasn’t consensual’”; (5) “that Blatt had
     14          committed sexual harassment and that Blatt’s conduct ‘wasn’t an isolated
     15          incident’”; and (6) “that there was ‘pervasive sexual harassment and misogyny by
     16          Match executives.’” FAC ¶ 97.
     17                          b.     What the Article Says
     18                The August 16, 2018 article posted on CNN is entitled “Tinder exec: I had to
     19          protect the company from my story.” FAC App’x A at 23. The article’s first
     20          sentence states: “A lawsuit filed by ten current and former Tinder executives
     21          accuses former CEO Greg Blatt of groping and sexually harassing a vice president
     22          of the company.” Id. It repeatedly quotes the New York Complaint and references
     23          the New York “lawsuit” or “suit” sixteen times. See id. at 23–26.
     24                The article states that “CNN has learned more details surrounding the
     25          alleged incident, which occurred during Tinder’s 2016 holiday party at the SLS
     26          Hotel in Los Angeles.” Id. at 24. It says that Pambakian “said Blatt started
     27          behaving inappropriately, including saying at one point, ‘I get hard every time
     28
                                                          10
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 18 of 33 Page ID
                                                 #:515

        1        I look at you’” and “[a]ccording to Pambakian, Blatt then said, ‘let’s get out of
        2        here.’” Id.; compare RJN Ex. B (Pambakian Compl.) ¶ 16 (“At the party,
        3        Defendant Blatt approached Plaintiff and said to her in a lewd voice, in sum and
        4        substance, ‘I get hard every time I look at you’ and ‘Let’s get out of here.’”). 5
        5                Pambakian is quoted in the article as saying, “‘In that moment, I thought
        6        ‘My boss actually thinks I’m going home with him,’” and “‘I basically bolted,
        7        found two people I knew and said, “Hey, let’s go up to your room.’” FAC App’x
        8        A at 24; compare with RJN Ex. B (Pambakian Compl.) ¶ 16 (“Plaintiff quickly
        9        walked away from Defendant Blatt, found a colleague and close friend, Witness
     10          No. 2, and went upstairs to friend and colleague, Witness No. 1’s hotel room, in an
     11          attempt to distance herself from Defendant Blatt.”).
     12                  The CNN article further states that, according to Pambakian, “she was sitting
     13          on the bed when Blatt entered the room and, without saying anything to anyone
     14          else in the room, pushed her back onto the mattress, climbed on top of her, and
     15          began kissing and fondling her.” FAC App’x at 24; compare with RJN Ex. A
     16          (N.Y. Compl.) ¶ 128 (“At Tinder’s December 2016 holiday party in Los Angeles,
     17          Blatt … groped and sexually harassed Rosette Pambakian….”); RJN Ex. B
     18          (Pambakian Compl.) ¶ 18 (“Immediately upon entering the room, Defendant Blatt
     19          went straight for Plaintiff who was sitting on the bed. Defendant Blatt climbed on
     20          top of Plaintiff and pulled her backwards so that Plaintiff was lying beside him
     21          with his arm draped over Plaintiff. Defendant Blatt then began forcibly groping
     22          Plaintiff’s breasts and upper thighs, and kissing her shoulders, neck and chest—all
     23          without Plaintiff’s consent.”).
     24                  The August 16, 2018 CNN article includes a statement from a Match Group
     25          spokesperson, stating in part: “As it relates to the matter alleged in the lawsuit, an
     26
     27           5
                      As discussed, infra, Blatt alleges that the details of his conduct included in
                      Pambakian’s complaint are merely “reiterating” the New York Lawsuit’s
     28               allegations with increased “detail.” FAC ¶ 15 (emphasis added).
                                                             11
Gibson, Dunn &               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                   DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                       CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 19 of 33 Page ID
                                                 #:516

        1        incident occurred in late 2016 and was reported at the end of April 2017,” with the
        2        Match Board concluding “that there was no violation of law or company policy.”
        3        FAC App’x A at 24. An unnamed source—apparently associated with Match—
        4        added, “‘this was a one-off consensual error in judgment’” and “‘[f]rom what we
        5        understood from interviews and investigations, there was consensual cuddling
        6        taking place.’” Id. According to the article, “Blatt did not respond to a CNN
        7        request for comment.” Id. (emphasis added).
        8              The CNN article also reports that “Pambakian says Blatt’s behavior wasn’t
        9        an isolated incident” and that “[a]ccording to [Pambakian], many other women
     10          were subjected to ‘pervasive sexual harassment and misogyny by Match
     11          executives.’” Id. at 25; see RJN Ex. A (N.Y. Compl.) ¶ 132 (“On information and
     12          belief, based on statements by a former IAC communications executive, Match had
     13          previously concealed other sexual misconduct allegations through confidential
     14          payoffs and settlements.”). It describes alleged instances of misconduct, quoting a
     15          Match spokesperson’s statement that one executive “was promptly removed from
     16          the Company” following an investigation “into his behavior.” FAC App’x A at 25.
     17                   3.      Articles Published by the Verge and CNN on Dec. 18, 2018
     18                          a.    What Blatt Alleges
     19                Last, Blatt cites an article published on theverge.com entitled “Tinder fires
     20          its head of comms, following her participation in a $2 billion lawsuit against
     21          Match” and a CNN.com article entitled “Tinder fires employees who sued its
     22          parent companies.” FAC ¶ 98, FAC App’x. A at 27, 33. Blatt alleges Rad and
     23          Pambakian defamed him by “directing the circulation of emails”—including
     24          emails “authored by Pambakian and published by The Verge on December 18,
     25          2018”— “to news organizations so that those news organizations would publish
     26          the defamatory statements.” FAC ¶ 98. He appears to allege that emails published
     27          by the Verge are defamatory because they state that Pambakian “was ‘subjected to
     28
                                                          12
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 20 of 33 Page ID
                                                 #:517

        1        ongoing intimidation and retaliation’ by Match, that Blatt engaged in sexual
        2        ‘assault’ toward Pambakian, and that Blatt, without her consent, ‘grop[ed]
        3        [Pambakian] in front of other employees.’” Id. Blatt alleges that the December 18,
        4        2018 CNN article “quotes Pambakian’s allegation of ‘sexual assault’ contained in a
        5        second email from Pambakian to Mandy Ginsberg.” Id.
        6                        b.    What the Articles Say
        7              The Verge and CNN articles also focus on the New York lawsuit. The first
        8        paragraph of the Verge article states that Match fired multiple Tinder employees
        9        who had sued Match, including Rosette Pambakian, “who, in the original lawsuit,
     10          claimed that former Tinder CEO Greg Blatt sexually assaulted her.” FAC App’x
     11          A at 27 (emphasis added). The CNN article also notes that Tinder fired “multiple
     12          employees who were part of a $2 billion lawsuit against the dating app’s parent
     13          companies” FAC App’x. A at 33. It states that that the New York “lawsuit alleges
     14          Blatt groped and sexually harassed Pambakian at a holiday party,” and that the
     15          “suit also alleges that when Tinder co-founder Sean Rad informed IAC of Blatt’s
     16          conduct, it was covered up and Blatt was kept as CEO.” Id. (emphasis added).
     17                The articles refer to an email they say Pambakian sent to the new Match
     18          Group CEO, Mandy Ginsburg, although—according to the Verge article—“[m]uch
     19          of this correspondence has already played out in public.” Id. at 29.
     20                The email attributed to Pambakian states in its first paragraph that “you have
     21          now fired me from a company I was so proud to build in blatant retaliation
     22          for joining a group of colleagues and Tinder’s original founding members in a
     23          lawsuit against Match and IAC, standing up for our rights, calling out the
     24          company’s CEO Greg for sexual misconduct, and confronting the company about
     25          covering up what happened to me.” Id. (emphasis added). The email later states
     26          that, “[t]o make matters worse, you told the world that a sham investigation
     27          (in which I was never even interviewed) determined the assault was some sort of
     28
                                                          13
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 21 of 33 Page ID
                                                 #:518

        1        ‘consensual cuddling’—as if there could be anything consensual about a CEO
        2        groping his subordinate in front of other employees after making sexually explicit
        3        comments throughout the evening of a company holiday party.” Id. at 30. The
        4        email further states: “I’ve been subjected to ongoing intimidation and retaliation
        5        clearly designed to pressure me into resigning—from immediately removing my
        6        name from my office and converting it into a conference room, to trying to coerce
        7        me into turning over my private and personal data on my phone.” Id.
        8              Ginsburg’s response states in part, “you were terminated because it was not
        9        possible for you to fulfill the duties and responsibilities of your role as Tinder’s
     10          spokesperson for a number of reasons, including your public position against the
     11          company over a valuation process.” Id. at 31. Ginsburg adds that, “You’re free to
     12          talk about anything publicly that you’d like. You have already done so and
     13          that’s your prerogative.” Id. at 31–32 (emphasis added).
     14                                      III.   LEGAL STANDARD
     15                As this Court has recognized, California’s anti-SLAPP statute targeting
     16          strategic lawsuits against public participation (Cal. Code Civ. Proc. § 425.16)
     17          “was enacted to allow early dismissal of meritless first amendment cases aimed at
     18          chilling expression through costly, time-consuming litigation.” Heller v.
     19          NBCUniversal, Inc., No. CV-15-09631-MWF-KS, 2016 WL 6573985, at *7 (C.D.
     20          Cal. Mar. 30, 2016) (citing Metabolife Int’l v. Wornick, 264 F.3d 832, 839 (9th Cir.
     21          2001)). The Ninth Circuit has also recognized that because “‘it is in the public
     22          interest to encourage continued participation in matters of public significance, and
     23          [because] this participation should not be chilled through abuse of the judicial
     24          process,’ the anti-SLAPP statute is to be construed broadly.” Hilton v. Hallmark
     25          Cards, 599 F.3d 894, 902 (9th Cir. 2010) (quoting CCP § 425.16(a)).
     26                Motions brought under the anti-SLAPP statute “are evaluated in two steps.”
     27          Microsoft Corp. v. M Media, No. CV-17-347-MWF (AJWx), 2018 WL 5094969,
     28
                                                           14
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 22 of 33 Page ID
                                                 #:519

        1        at *4 (C.D. Cal. Mar. 13, 2018) (granting anti-SLAPP motion). First, “a defendant
        2        must make a threshold showing that the act or acts giving rise to the claim were in
        3        furtherance of the right of petition or free speech, or in connection with a public
        4        issue.” Magic Laundry Servs., Inc. v. Workers United Serv. Emps. Int’l Union, No.
        5        CV-12-9654-MWF (AJWx), 2013 WL 1409530, at *1 (C.D. Cal. Apr. 8, 2013)
        6        (granting anti-SLAPP motion). Next, if the defendant meets its burden, “the
        7        plaintiff must show a probability of prevailing on the challenged claim.” Id.
        8                To make the necessary showing under the second step of the analysis, the
        9        plaintiff “must demonstrate that the complaint is legally sufficient and supported
     10          by a prima facie showing of facts to sustain a favorable judgment if the evidence
     11          submitted by the plaintiff is credited.” Planned Parenthood Fed’n of Am. v. Ctr.
     12          for Med. Progress, 890 F.3d 828, 833 (9th Cir. 2018) (internal quotations and
     13          citation omitted). According to the Ninth Circuit’s recent Planned Parenthood
     14          decision, which re-affirms the availability of the anti-SLAPP remedy in federal
     15          court, “when an anti-SLAPP motion to strike challenges only the legal sufficiency
     16          of a claim, a district court should apply the Federal Rule of Civil Procedure
     17          12(b)(6) standard and consider whether a claim is properly stated.” Id. at 834.
     18                  Movants who prevail on an anti-SLAPP motion are also statutorily entitled
     19          to recover their reasonable attorneys’ fees and costs incurred in the course of
     20          litigation of that motion. Cal. Code Civ. Proc., § 425.16(c); see Microsoft, 2018
     21          WL 5094969, at *8 (“The Ninth Circuit has held that [§ 425.16(c)] applies in
     22          federal courts adjudicating Anti-SLAPP motions….”).6
     23                                           IV.   ARGUMENT
     24                  Defendants Pambakian and Rad easily meet their burden of showing that
     25          California’s anti-SLAPP statute applies to their challenged activity (that is, speech
     26
                  6
                      If this motion is not granted, Defendants will bring a Rule 12 motion to dismiss.
     27               See United States ex rel. Newsham v. Lockheed Missiles & Space Co., 190 F.3d
                      963, 972 (9th Cir. 1999) (If a SLAPP defendant’s motion to strike is
     28               unsuccessful, he or she “remains free to bring a Rule 12 motion to dismiss.”).
                                                            15
Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 23 of 33 Page ID
                                                 #:520

        1        in a public forum regarding a legal proceeding). That shifts the burden to Blatt to
        2        show that he could prevail on his claims. Under well-established law applying
        3        California’s fair and true reporting privilege, Blatt cannot meet his burden.
        4        Nor can Blatt remedy his claims. Accordingly, Blatt’s case should be dismissed
        5        without leave to amend. In addition, he should be ordered to pay Defendants’
        6        attorneys’ fees and costs in connection with this improper attempt to use litigation
        7        to stifle protected speech.
        8           A.      Step One: The claims at issue in this lawsuit arise from Defendants’
                            exercise of their constitutional rights of petition and free speech.
        9
                         Under the first step of anti-SLAPP analysis, Pambakian and Rad must
     10
                 establish that the claims at issue in this case—i.e., one claim for defamation, one
     11
                 claim for defamation per se, and one wholly-dependent “claim” for conspiracy—
     12
                 all “arise from . . . act[s they have undertaken] in furtherance of [their] right of
     13
                 petition or free speech under the United States Constitution or the California
     14
                 Constitution in connection with a public issue.” Cal. Code Civ. Proc. §
     15
                 425.16(b)(1).
     16
                         The anti-SLAPP statute provides four ways in which an act is
     17
                 “in furtherance of a person’s right of petition or free speech under the United
     18
                 States or California Constitution in connection with a public issue.” Cal. Code
     19
                 Civ. Proc. § 425.16(e)(1)–(4). Two types of covered acts particularly relevant here
     20
                 are: “any written or oral statement or writing made in connection with an issue
     21
                 under consideration or review by a legislative, executive, or judicial body, or any
     22
                 other official proceeding authorized by law” (id. § 425.16(e)(2)), and “any written
     23
                 or oral statement or writing made . . . in connection with an issue of public
     24
                 interest” (id. § 425.16(e)(3)).
     25
                         As explained below, Pambakian and Rad easily meet their burden under the
     26
                 anti-SLAPP statute’s first prong. Every statement Blatt appears to challenge
     27
                 directly relates to ongoing court proceedings and matters of public interest.
     28
                                                            16
Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 24 of 33 Page ID
                                                 #:521

        1        See Microsoft Corp., 2018 WL5094969, at *5 (In evaluating whether an anti-
        2        SLAPP movant has established that his or her conduct falls within the scope of the
        3        statute, “the Anti-SLAPP statute is to be construed broadly.”).
        4                   1.    The Allegedly Defamatory Statements Were Made in
                                  Connection with Issues Under Consideration or Review By A
        5                         Judicial Body—Cal. Code Civ. Proc. § 425.16(e)(2)
        6                 To satisfy the first prong of the anti-SLAPP analysis under section
        7        425.16(e)(2), “all that is needed is that the statement or writing be made in
        8        connection with an issue under consideration or review by a legislative, executive
        9        or judicial body, or any other official proceeding authorized by law.” Braun v.
     10          Chronicle Publ’g Co., 52 Cal. App. 4th 1036, 1043 (1997) (quotation marks
     11          omitted). This statutory requirement, like the other prongs of section 425.16(e), is
     12          “straightforward and unambiguous.” Id.
     13                  The statute thus applies to filings in litigation. See Microsoft Corp.¸ 2018
     14          WL 5094969, at *5 (“‘Section 425.16 is construed broadly, to protect the right of
     15          litigants to the utmost freedom of access to the courts without [the] fear of being
     16          harassed subsequently by derivative tort actions.’”) (quoting Rohde v. Wolf, 154
     17          Cal. App. 4th 28, 35 (2007)). It also applies to statements about—that is, “in
     18          connection with”—litigation. See, e.g., Marantha Corrections, LLC v. Dep’t of
     19          Corr. & Rehab., 158 Cal. App. 4th 1075, 1085 (2008) (agreeing with trial court
     20          and applying section 425.16(e)(2) to defamation-related causes of action that “were
     21          predicated on the dissemination of [a] letter to the press”); Annett F. v. Sharon S.,
     22          119 Cal. App. 4th 1146, 1158, 1161 (2004) (applying section 425.16(e)(2) to
     23          statements in a letter published by a newspaper about matters that were “at issue”
     24          in pending court proceedings); Sipple v. Found. for Nat’l Progress, 71 Cal. App
     25          4th 226, 237–38 (1999) (applying anti-SLAPP statute to an article’s discussion of
     26          statements made during a deposition and hearing). 7
     27
                  7
                      The Sipple court concluded without explanation that the challenged statements
     28               fell within the scope of CCP § 425.16(e)(1). 71 Cal. App. 4th at 238.
                                                           17
Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 25 of 33 Page ID
                                                 #:522

        1              For example, in Lafayette Morehouse, Inc. v. Chronicle Publishing Co., 37
        2        Cal. App. 4th 855, 863 (1995), the California Court of Appeal considered whether
        3        speech about litigation, rather than speech in furtherance of the litigation itself, fell
        4        within the scope of the anti-SLAPP statute’s protections. The Lafayette court
        5        noted that Black’s Law Dictionary defined “connected” as ‘united by …
        6        dependence or relation.’” 37 Cal. App. 4th at 863 (quoting Black’s Law Dict. (6th
        7        ed. 1990) p. 302, col. 2) (ellipses in Lafayette). It then found that the articles in
        8        question reported on a dispute, related hearings before a county board of
        9        supervisors, and a federal lawsuit. Id. As a result, “[t]hey were clearly united by
     10          dependence on or relation to the official executive, legislative, and judicial actions
     11          they described.” Id.; see also Braun, 52 Cal. App. 4th at 1046 (holding that an
     12          article reporting on an investigation was made “in connection with” an official
     13          proceeding and noting that “[n]othing in any portion of subdivision (e), which is
     14          unambiguous on its face, confines free speech to speech which furthers the
     15          exercise of petition rights”); Briggs v. Eden Council for Hope & Opportunity, 19
     16          Cal. 4th 1106, 1116–17 (1999) (approving Braun).
     17                Here, as discussed above, the CNN broadcast, CNN articles, and Verge
     18          article—and all the statements attributed to Pambakian and/or Rad therein—
     19          directly related to the New York lawsuit. The CNN broadcast aired the same day
     20          the New York Complaint was filed and even displayed paragraphs of the complaint
     21          on the screen. The CNN article was published two days later and discussed the
     22          lawsuit at length, as did the later CNN article and the article in the Verge, which
     23          both highlighted the New York lawsuit in their titles. See FAC App’x. A at 27, 33.
     24                The statements that Blatt claims are defamatory all relate to that lawsuit and
     25          the allegations therein that Blatt “groped and sexually harassed” Pambakian. RJN
     26          Ex. A (N.Y. Compl.) ¶ 128. Indeed, the premise of Blatt’s lawsuit is that
     27          Pambakian’s and Rad’s statements were intended “to apply pressure to settle the
     28
                                                            18
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 26 of 33 Page ID
                                                 #:523

        1        [New York] lawsuit,” which Blatt concedes included allegations “that Blatt
        2        ‘sexually harassed and groped’” Pambakian. FAC ¶¶ 67, 16. The record is clear.
        3        The alleged defamatory statements here were made in connection with the
        4        New York judicial proceeding, and thus are squarely protected under California
        5        Code of Civil Procedure 425.16(e)(2).
        6                  2.    The Allegedly Defamatory Statements Were Made In A Public
                                 Forum In Connection With An Issue Of Public Interest—
        7                        Cal. Code of Civ. Proc. § 425.16(e)(3)
        8              The alleged statements also were made in “a public forum in connection
        9        with an issue of public interest” under Section 425.16(e)(3). As a threshold matter,
     10          the California Supreme Court has recognized that “[w]eb sites accessible to the
     11          public … are ‘public forums’ for purposes of the anti-SLAPP statute.” Barrett v.
     12          Rosenthal, 40 Cal. 4th 33, 41 n.4 (2006); see also Annett F., 119 Cal. App. 4th at
     13          1161 (“This court has concluded that a news publication is a ‘public forum’ within
     14          the meaning of the anti-SLAPP statute if it is a vehicle for discussion of public
     15          issues and it is distributed to a large and interested community.”).
     16                Likewise, these were issues of public interest. There are “billions of dollars”
     17          at issue in the New York lawsuit, FAC ¶ 1, which involves allegations of
     18          significant wrongdoing by two massive and publicly-traded media companies:
     19          IAC, a media and Internet conglomerate that owns or controls over 150 brands,
     20          including Dictionary.com and The Daily Beast; and Match, which owns the highly
     21          successful Tinder online dating brand as well as other less successful, but still
     22          relatively well-known, online dating brands like Match and OkCupid. See RJN Ex.
     23          A ¶¶ 39-40. Greg Blatt is a powerful public figure in the media business, as is
     24          IAC’s controlling shareholder, media mogul Barry Diller.
     25                Further, Defendants’ purported statements relate to the broader public
     26          discussion of sexual harassment and assault in the workplace that has been a matter
     27          of enormous public interest since the #MeToo movement began garnering greater
     28
                                                           19
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 27 of 33 Page ID
                                                 #:524

        1        attention in late 2017. See CNN.com, “How 2018 became the year of #MeToo,”
        2        available at https://www.cnn.com/videos/us/2018/12/23/me-too-2018-wrap-lc-me-
        3        cs-orig.cnn; see also Heller, 2016 WL 6573985, at *8 (C.D. Cal. Mar. 30, 2016).
        4                  The August 16, 2018 CNN article cited by Blatt concludes with a statement
        5        by Pambakian that asks, “Why should I be the one to leave my job that I love when
        6        I did nothing wrong?” and “Why is it that the men responsible for this type of
        7        behavior are allowed to quietly resign with a hefty severance package while no one
        8        is the wiser?” FAC App’x A at 26. Sadly, a great many targets of harassment
        9        have been left to ask these same questions. As these issues are regularly a topic of
     10          discussion, and state legislatures strengthen protections against sexual harassment,
     11          it cannot be disputed that the statements at issue here relate to “an issue of public
     12          interest.” 8 For this reason as well, Pambakian and Rad have satisfied their burden
     13          under the first prong of the anti-SLAPP statute and the burden shifts to Blatt to
     14          show he has a reasonable probability of prevailing on his claims.
     15               B.      Step Two: Blatt cannot show a probability of prevailing on the merits.
     16                    Under the second step of anti-SLAPP analysis, the burden shifts to Blatt,
     17          who must “demonstrate that the complaint is legally sufficient and supported by a
     18          prima facie showing of facts to sustain a favorable judgment if the evidence
     19          submitted by the plaintiff is credited.” Planned Parenthood, 890 F.3d at 833
     20          (internal quotations omitted). Here, all of Blatt’s claims are barred as a matter of
     21          law by the fair and true reporting privilege. Blatt cannot cure this fundamental
     22          defect, and thus this motion to strike Blatt’s complaint should be granted.
     23
     24
     25
     26
                  8
                      See Jeff Daniels, “New state laws: From workplace harassment protections to
     27               mandating women on boards,” CNBC (Dec. 28, 2018), available at
                      https://www.cnbc.com/2018/12/28/new-state-laws-in-california-elsewhere-
     28               inspired-by-metoo-movement.html.
                                                           20
Gibson, Dunn &                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                    DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                        CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 28 of 33 Page ID
                                                 #:525

        1                   1.     The fair and true reporting privilege bars Blatt’s claims.
        2                The statements that Blatt attributes to Sean Rad repeat almost verbatim the
        3        allegations in the New York Complaint. The statements he attributes to Rosette
        4        Pambakian do the same, and also give details about the background of those
        5        allegations in the ongoing New York lawsuit. Any viewer or reader would
        6        conclude that the purportedly defamatory statements refer to the allegations in the
        7        New York Complaint. California’s fair and true reporting privilege thus applies to
        8        both types of statements, and Blatt’s claims are barred.
        9                As codified in California Civil Code Section 47(d), the “fair and true
     10          reporting privilege” protects any “fair and true report in, or a communication to,
     11          a public journal” of a judicial proceeding or anything said in the course thereof.
     12          Cal. Civ. Code § 47(d) (emphasis added); see Argentieri, 8 Cal. App. 5th at 787
     13          (2017) (noting that “the fair and true reporting privilege pertains specifically to
     14          communications to the press”). 9
     15                  Blatt’s baseless conspiracy allegations about why the statements were
     16          communicated to news outlets have no bearing on this motion. If the fair and true
     17          reporting privilege applies, “the statement is absolutely privileged regardless of
     18          the defendants’ motive for reporting it.” Hawran v. Hixson, 209 Cal. App. 4th
     19          256, 278 (2012) (emphasis added); Argentieri, 8 Cal. App. 5th at 787 (The fair and
     20          true report privilege is “absolute” and “applies regardless of the defendants’ motive
     21          for making the report”). In an anti-SLAPP analysis, application of this absolute
     22          privilege “forecloses a plaintiff from showing a probability of prevailing on the
     23          merits.” Argentieri, 8 Cal. App. 5th at 787.
     24                  In determining whether a statement made in connection with a judicial
     25
     26           9
                      In 1996, the California Legislature “opted to expand the fair and true reporting
     27               privilege of section 47, subdivision (d) so that it would cover not just a report
                      in a public journal, but also a report of pleadings and other documents to a
     28               public journal.” Argentieri, 8 Cal. App. 5th at 785 (emphasis in original).
                                                              21
Gibson, Dunn &               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                   DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                       CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 29 of 33 Page ID
                                                 #:526

        1        proceeding is “fair and true,” the privilege is interpreted broadly. See, e.g.,
        2        Greenberg v. Western CPE, 2013 WL 1628905, at *6 (C.D. Cal. Apr. 15, 2013)
        3        (noting the “flexibility allowed under the ‘fair and true’ standard”). For example,
        4        “case law is clear that reports which comprise a history of the proceeding come
        5        within the privilege.” Braun, 52 Cal. App. 4th at 1050 (emphasis in original).
        6        That “history” includes events at issue in the court proceeding that pre-date the
        7        filing of that litigation. See id. As the Braun court noted, there is “breathing
        8        room” under the fair and true reporting privilege that extends to “explaining the
        9        basis and background of a judicial proceeding.” Id. (emphasis added).
     10                The Ninth Circuit’s decision in Dorsey v. National Enquirer, Inc., 973 F.2d
     11          1431 (9th Cir. 1992), is instructive. The Ninth Circuit court applied the fair
     12          reporting privilege to statements that went beyond what had been filed in court
     13          because the out-of-court statements “‘detail[ed] the circumstances, and [the
     14          speakers’] theories based upon the circumstances, in regard to the [court
     15          proceeding].’” Id. at 1437 (quoting Hayward v. Watsonville Register-Pajaronian
     16          & Sun, 265 Cal. App. 2d 255, 260 (1968)); see Hayward, 265 Cal. App. 2d at 260
     17          (relying on Oregon Supreme Court holding that the “sheriff and his deputies had
     18          the right to detail the circumstances, and their theories based upon the
     19          circumstances, in regard to the arrest, and it was proper for the newspaper to
     20          publish the same”); Braun, 52 Cal. App. 4th at 1050.
     21                To the extent Rad’s or Pambakian’s statements do not repeat exactly the
     22          allegations in the New York lawsuit, they convey and detail the circumstances
     23          underlying those allegations and thus are protected under the reasoning of Dorsey,
     24          Hayward, and similar decisions. As even Blatt concedes in his amended
     25          complaint, the allegations in Pambakian’s assault case against Blatt pending in this
     26          Court, which match up almost verbatim with the defamatory statements he alleges
     27          against Pambakian here, are merely “reiterating” the New York Lawsuit’s
     28
                                                           22
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 30 of 33 Page ID
                                                 #:527

        1        allegations with “increased” “detail.” FAC ¶ 15 (emphases added). He admits that
        2        the more detailed statements about his assault relate to the “same” allegations
        3        against Blatt in the New York Lawsuit. Id. (emphasis added). Every alleged
        4        defamatory statement thus is absolutely privileged.
        5              Argentieri v. Zuckerberg, 8 Cal. App. 5th 768 (2017), is another example of
        6        why the fair and true reporting privilege applies here. In Argentieri, Facebook and
        7        its founder Mark Zuckerberg filed a malicious prosecution claim against two law
        8        firms based on their representation of a litigant, Paul Ceglia, who had sued
        9        Facebook and Zuckerberg in a separate case. Id. at 776. The malicious
     10          prosecution complaint alleged that “[t]he lawyers representing Ceglia knew or
     11          should have known that the lawsuit was a fraud,” and that the suit was based “on
     12          an implausible story and obviously forged documents.” Id. (italics and quotations
     13          omitted). That same day, Facebook’s general counsel sent an email to members of
     14          the press that went beyond what the complaint alleged. Rather than stating that the
     15          law firms “knew or should have known” that the lawsuit was a fraud, the email
     16          stated that the law firms “knew the case was based on forged documents yet they
     17          pursued it anyway.” Id. (italics and quotations omitted; emphasis added).
     18                One of the lawyers named in the malicious prosecution suit, Paul Argentieri,
     19          sued Facebook, Zuckerberg, and Facebook’s general counsel for defamation
     20          per se, alleging that the statement that the lawyers “knew” the Ceglia action was
     21          based on forged documents was defamatory on its face. 8 Cal. App. 5th at 778.
     22          The trial court granted the Facebook defendants’ anti-SLAPP motion to strike
     23          Argentieri’s defamation complaint. Id. at 779. Holding that the fair and true
     24          reporting privilege applied to the Facebook general counsel’s email to the media,
     25          the Court of Appeal affirmed. Id. at 795.
     26                Acknowledging the distinction between one who knew about the forgery and
     27          one who knew or should have known about it, the Argentieri court nevertheless
     28
                                                          23
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 31 of 33 Page ID
                                                 #:528

        1        held that “[i]t is sufficient if the statement conveys the ‘gist’ of the action, as
        2        measured by ‘how those in the community where the matter was published would
        3        reasonably understand it.’” 8 Cal. App. 5th at 790. The Argentieri court cited
        4        established California law that “a statement about ongoing litigation ‘need not
        5        track verbatim the underlying proceeding,’ because ‘[o]nly if the deviation is of
        6        such a substantial character that it produces a different effect on the reader will the
        7        privilege be suspended.’” Id. (quoting Carver v. Bonds, 135 Cal. App. 4th 328,
        8        351 (2005)) (internal quotations omitted); see Microsoft Corp. v. Yokohama
        9        Telecom Corp., 993 F. Supp. 782, 784 (C.D. Cal. 1998) (corporation’s “paid
     10          announcement” in a national publication was a fair and true reporting of a civil
     11          lawsuit because it generally “capture[d] the substance of” the proceedings).
     12                Here, every alleged statement at issue relates to the New York litigation.
     13          Rad’s alleged statements, and several of the statements attributed to Pambakian,
     14          simply repeat allegations in the publicly filed case in describing that ongoing
     15          judicial proceeding. Compare FAC ¶ 96 (“Rad also falsely stated that Blatt
     16          ‘threatened’ Rad in connection with the false harassment claim and warned Rad
     17          that ‘[i]f you take me down, I’m going to take you down with me.’”) with RJN Ex.
     18          A (N.Y. Compl.) ¶ 146 (“Blatt threatened Rad, angrily saying, in sum and
     19          substance, that if Rad or anyone else made public the misconduct allegations
     20          against him, Blatt would ‘take [Rad] down’ with him.”) and FAC App’x at 13
     21          (CNN video) (Rad: “I was threatened. I believe it was, ‘If you take me down, I’m
     22          going to take you down with me.’”).
     23                The broadcast and news articles on which Blatt apparently rely further show
     24          that every other purportedly defamatory statement merely explains the basis and
     25          background of the New York Complaint’s allegation that Blatt “groped and
     26          sexually harassed Rosette Pambakian” at the December 2016 Tinder holiday party.
     27          RJN Ex. A (N.Y. Compl.) ¶ 128 Blatt himself concedes this. FAC ¶¶ 14–15.
     28
                                                            24
Gibson, Dunn &             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                     CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 32 of 33 Page ID
                                                 #:529

        1        Accordingly, they “comprise the history of the proceedings,” Dorsey, 973 F.2d at
        2        1437, and are absolutely privileged.
        3                   2.    Blatt cannot establish a reasonable probability of prevailing on
                                  his claim for so-called “civil conspiracy.”
        4
                         Blatt’s inability to show a probability of prevailing on his claims extends to
        5
                 his claim for civil conspiracy. California law does not recognize civil conspiracy
        6
                 as a stand-alone tort. See Widdows v. Koch, 263 Cal. App. 2d 228, 234 (1968).
        7
                 In any event, the basis of Blatt’s conspiracy claim is the same speech at issue in his
        8
                 defamation claims. Accordingly, the same anti-SLAPP analysis that bars his
        9
                 defamation claims applies to bar his conspiracy claim. See Sparrow LLC v. Lora,
     10
                 No. CV-14-1188-MWF (JCx), 2014 WL 12573525, at *3 (C.D. Cal. Dec. 4, 2014)
     11
                 (granting anti-SLAPP motion) (“It is well-established that a plaintiff will not avoid
     12
                 the application of the anti-SLAPP statute by disguising the pleading as a ‘garden
     13
                 variety’ tort claim if the basis of the alleged liability is predicated on protected
     14
                 speech or conduct.”) (citation and quotations omitted).
     15
                    C.      Blatt’s Complaint Should Be Dismissed Without Leave To Amend
     16
                         Blatt cannot remedy the FAC’s overarching and fatal flaw: it challenges
     17
                 statements falling squarely within California’s fair and true reporting privilege.
     18
                 In a similar case where the alleged defamatory statements fell within the scope of
     19
                 the litigation privilege, Cal. Civil Code § 47(b), this Court granted an anti-SLAPP
     20
                 motion without granting leave to amend. Microsoft Corp., 2018 WL 5094969, at
     21
                 *7 (“Absent pleading entirely new Counterclaims premised on entirely different
     22
                 allegations, Defendants cannot possibly remedy their claims.”). Blatt’s second
     23
                 round of allegations here warrant the same result.
     24
                                                 V.     CONCLUSION
     25
                         This Court should grant Defendants’ anti-SLAPP motion and strike the First
     26
                 Amended Complaint in its entirety without leave to amend. Attorneys’ fees and
     27
                 costs also should be awarded to Defendants.
     28
                                                            25
Gibson, Dunn &              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                      CASE NO. 2:19-CV-07046-MWF-FFM
               Case 2:19-cv-07046-MWF-FFM Document 20-2 Filed 10/07/19 Page 33 of 33 Page ID
                                                 #:530

        1
                 Dated: October 7, 2019                  GIBSON, DUNN & CRUTCHER LLP
        2
        3                                                By: /s/ Deborah L. Stein
        4                                                    Deborah L. Stein
                                                         Attorneys for Defendants Rosette
        5                                                Pambakian and Sean Rad
        6
        7
        8
        9
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28
                                                    26
Gibson, Dunn &           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                               DEFENDANTS’ SPECIAL MOTION TO STRIKE
Crutcher LLP
                                   CASE NO. 2:19-CV-07046-MWF-FFM
